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May 11, 2022                                                   Michael B. de Leeuw
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VIA ECF                                                        mdeleeuw@cozen.com



Hon. Louis L. Stanton, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:   Federal Trade Comm’n, et al. v. Quincy Bioscience Holding Co., LLC,, et al.,
      17-cv-00124-LLS

Your Honor:

      Defendant Mark Underwood respectfully submits this letter in opposition to Plaintiff
the People of the State of New York, by Letitia James, Attorney General of the State of
New York’s (“NYAG”) untimely and improper request for a pre-motion conference
concerning its proposed cross-motion for partial summary judgment. ECF No. 242.

        As Your Honor is well aware, Mr. Underwood submitted his initial letter motion
seeking leave to file his Motion for Summary Judgment for lack of personal jurisdiction for
the NYAG’s claims on December 15, 2021, nearly five months ago. ECF No. 195. After
seeking additional time to respond to Mr. Underwood’s request, ECF No. 198, the NYAG
submitted its response on January 14, 2022, ECF No. 203. The NYAG’s response
previewed its opposition to Mr. Underwood’s summary judgment motion, arguing that it
amounts to a motion for reconsideration (it does not), that this Court maintains personal
jurisdiction over the NYAG’s state law claims by virtue of the Federal Trade Commission’s
federal law claims (it does not), and that this Court maintains personal jurisdiction over
Mr. Underwood pursuant to New York Civil Practice Law & Rules (“CPLR”) § 302(a) as
President of the Corporate Defendants (it does not). Compare ECF No. 203 at 2-3 with
ECF No. 237 at 1-3, 4-10, 11-19. But nowhere in its response did the NYAG indicate—
let alone request—an intent to file a cross-motion for summary judgment on these issues.
It is only now, five months after Mr. Underwood’s initial request and two months after Mr.
Underwood filed his motion for summary judgment, that the NYAG seeks leave to file a
motion of its own.

      Flouting this Court’s rules, the NYAG has already submitted its opening brief in
support of its motion for summary judgment—tacked on to its opposition to Mr.
Underwood’s summary judgment motion. See ECF 237 at 21 (“As requested in the
NYAG’s letter-motion for leave to file for partial summary judgment, filed
contemporaneously herewith, the Court should grant partial summary judgment in the
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NYAG’s favor” (emphasis added)). The NYAG’s request is both untimely and
procedurally improper and should not be entertained by this Court. Pursuant to Rule 2(A)
of Your Honor’s Individual Rules of Practice, a party seeking to file a motion for summary
judgment must seek leave for a pre-motion conference with the court “before making any
motion.” All of the other parties in this case have followed this procedure. The NYAG
made no such request before submitting its cross-motion for summary judgment. See
ECF No. 237 at 21-22. Instead, the NYAG improperly and presumptively submitted its
pre-motion letter at the same time as the motion itself. See ECF No. 237 (motion filed
May 6, 2022), ECF No. 242 (pre-motion letter filed May 6, 2022). Had the NYAG
submitted a timely, proper request, its cross-motion for summary judgment would have
been filed at the same time as Mr. Underwood’s, allowing the parties a proper briefing
schedule and the Court to handle these motions efficiently.

       It is unclear why the NYAG made the tactical choices it did, but one can only
surmise that it was in order to write a further reply brief after Mr. Underwood submits his
reply brief. And, while Mr. Underwood believes that the Court should not entertain the
NYAG’s motion at all, at a minimum, the Court should not allow the NYAG to have a
second brief on this motion.

     For these reasons, Mr. Underwood respectfully requests that this Court deny the
NYAG’s request for a pre-motion conference regarding its proposed cross-motion for
summary judgment as untimely and procedurally improper.

Respectfully submitted,

COZEN O'CONNOR

/s/ Michael B. de Leeuw

BY:   MICHAEL B. DE LEEUW
